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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-206-GEB
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: January 29, 2010
     DELMAR LAGRIMAS,             )      TIME: 9:00 a.m.
15   LEOBARDO OLAZABAL CARRANZA, )       JUDGE: Hon. Garland E. Burrell Jr.
                                  )
16                Defendants.     )
                                  )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through MARY GRAD, Assistant U.S. Attorney, and defendants,
20
     DELMAR LAGRIMAS by and through his counsel, BENJAMIN GALLOWAY,
21
     Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by and
22
     through his counsel, GILBERT A. ROQUE, that the status conference set
23
     for Friday, December 11, 2009, be continued to Friday, January 29, 2010
24
     at 9:00 a.m..
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        The reason for this continuance is to allow defense counsel
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     additional time to review discovery with the defendants, to examine
27
     possible defenses and to continue investigating the facts of the case.
28
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1       It is further stipulated that the time period from the date of this
2    stipulation, December 9, 2009, through and including the date of the
3    new status conference hearing, January 29, 2010, shall be excluded from
4    computation of time within which the trial of this matter must be
5    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
7    prepare].
8
9    DATED: December 9, 2009        Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
14
                                    /s/ Benjamin Galloway for
15                                  GILBERT A. ROQUE
                                    Attorney for Defendant
16                                  LEOBARDO OLAZABAL CARRANZA
17
18
     DATED: December 9, 2009        BEN WAGNER
19                                  United States Attorney
20                                  /s/ Benjamin Galloway for
                                    MARY GRAD
21                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 25 Filed 12/11/09 Page 3 of 3


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                                       O R D E R
2
           IT IS SO ORDERED.    Time is excluded from today’s date through and
3
     including January 29, 2010 in the interests of justice pursuant to 18
4
     U.S.C. §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code
5
     T4.
6
7    Dated:    December 10, 2009

8
9                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
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